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 6

 7                                 UNITED STATES DISTRICT COURT
 8                                EASTERN DISTRICT OF CALIFORNIA
 9

10    TODD S. ASHER,                              Case No.
11                      Plaintiff,                COMPLAINT FOR DAMAGES
12           v.                                   1. VIOLATION OF THE FAIR DEBT
                                                  COLLECTION PRACTICES ACT, 15 U.S.C.
13                                                §1692 ET SEQ.
      CREDIT CONTROL, LLC,
14                                                2. VIOLATION OF THE ROSENTHAL FAIR
                        Defendant.                DEBT COLLECTION PRACTICES ACT,
15                                                CAL. CIV. CODE §1788 ET SEQ.
16                                                DEMAND FOR JURY TRIAL
17

18                                           COMPLAINT
19
            NOW comes TODD S. ASHER (“Plaintiff”), by and through his attorneys, WAJDA LAW
20
     GROUP, APC (“Wajda”), complaining as to the conduct of CREDIT CONTROL, LLC
21
     (“Defendant”), as follows:
22
                                        NATURE OF THE ACTION
23
        1. Plaintiff brings this action for damages pursuant to the Fair Debt Collection Practices Act
24

25   (“FDCPA”) under 15 U.S.C. §1692 et seq., and the Rosenthal Fair Debt Collection Practices Act

26   (“RFDCPA”) pursuant to Cal. Civ. Code §1788 et seq., for Defendant’s unlawful conduct.
27                                     JURISDICTION AND VENUE
28
                                                     1
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 1         2. This action arises under and is brought pursuant to the FDCPA. Subject matter jurisdiction
 2   is conferred upon this Court by 15 U.S.C §1692, 28 U.S.C. §§1331 and 1337, as the action arises
 3
     under the laws of the United States. Supplemental jurisdiction exists for the state law claim
 4
     pursuant to 28 U.S.C. §1367.
 5
           3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business
 6

 7   in the Eastern District of California and a substantial portion the events or omissions giving rise to

 8   the claims occurred within the Eastern District of California.

 9                                                        PARTIES
10
           4. Plaintiff is a consumer over-the-age of 18 residing in Stanislaus County, California, which
11
     is located within the Eastern District of California.
12
           5. Defendant promotes that its “history in the collections industry started in 1989 and currently
13
     serves over 450 clients.”1 Defendant is a limited liability company organized under the laws of the
14

15   state of Missouri, with its principal place of business located at 5757 Phantom Drive, Suite 330,

16   Hazelwood, Missouri 63042.
17         6. Defendant acted through its agents, employees, officers, members, directors, heirs,
18
     successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all times
19
     relevant to the instant action.
20
                                       FACTS SUPPORTING CAUSES OF ACTION
21

22         7.    The instant action arises out of Defendant’s attempts to collect upon a defaulted personal

23   credit card debt (“subject consumer debt”) that Plaintiff purportedly owed to Synchrony Bank

24   (“Synchrony”).
25         8.    Around November 2019, Plaintiff began receiving calls to his cellular phone, (559) XXX-
26
     0805, from Defendant.
27

28   1
         https://www.credit-control.com/about-us/who-we-are/
                                                               2
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 1       9. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and
 2   operator of the cellular phone ending in -0805. Plaintiff is and always has been financially
 3
     responsible for the cellular phone and its services.
 4
         10. Defendant has used several phone numbers when placing collection calls to Plaintiff’s
 5
     cellular phone, including but not limited to: (202) 918-9749, (866) 672-1475, and (206) 231-0004.
 6

 7       11. Upon information and belief, the above referenced phone numbers are regularly utilized

 8   by Defendant during its debt collection activity.

 9       12. Upon answering phone calls from Defendant, Plaintiff has experienced a significant pause,
10
     lasting several seconds in length, before being connected with a live representative.
11
         13. Upon speaking with Defendant, Plaintiff was informed that Defendant is a debt collector
12
     attempting to collect upon the subject consumer debt.
13
         14. Plaintiff informed Defendant of his intent to file for bankruptcy and provided Defendant
14

15   with his bankruptcy counsel’s contact information.

16       15. Plaintiff further demanded that Defendant cease contacting him and demanded that
17   Defendant contact his bankruptcy counsel instead.
18
         16. Despite Plaintiff’s demands, Defendant continued to place phone calls to Plaintiff’s
19
     cellular phone seeking collection of the subject consumer debt.
20
         17. Plaintiff has received not less than 15 phone calls from Defendant since asking it to stop
21

22   calling.

23       18. Frustrated over Defendant’s conduct, Plaintiff spoke with Wajda regarding his rights,

24    resulting in expenses.
25       19. Plaintiff has been unfairly and unnecessarily harassed by Defendant's actions.
26
         20. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not
27
      limited to, invasion of privacy, aggravation that accompanies collection telephone calls, emotional
28
                                                         3
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 1       distress, increased risk of personal injury resulting from the distraction caused by the never-ending
 2       calls, increased usage of his telephone services, loss of cellular phone capacity, diminished cellular
 3
         phone functionality, decreased battery life on his cellular phone, and diminished space for data
 4
         storage on his cellular phone.
 5

 6                  COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
 7
           21. Plaintiff repeats and realleges paragraphs 1 through 20 as though full set forth herein.
 8
           22. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) of the FDCPA.
 9
           23. Defendant is a “debt collector” as defined by §1692a(6) of the FDCPA, because it regularly
10

11   use the mail and/or the telephone to collect, or attempt to collect, delinquent consumer accounts.

12         24. Defendant identifies itself as a debt collector, and is engaged in the business of collecting

13   or attempting to collect, directly or indirectly, defaulted debts owed or due or asserted to be owed
14   or due to others. Defendant has been a member of the Association of Credit and Collection
15
     Professionals, an association of debt collectors, since 2007.2
16
           25. The subject consumer debt is a “debt” as defined by FDCPA §1692a(5) as it arises out of a
17
     transaction due or asserted to be owed or due to another for personal, family, or household purposes.
18

19              a. Violations of FDCPA §1692c and §1692d

20         26. The FDCPA, pursuant to 15 U.S.C. §1692c(a)(2), prohibits a debt collector from

21   “communicat[ing] with a consumer in connection with the collection of a debt if the debt collector
22
     knows the consumer is represented by an attorney…”
23
           27. Defendant violated c(a)(2) when it placed over 15 calls to Plaintiff’s cellular phone after it
24
     knew that Plaintiff was represented by an attorney.
25

26

27

28   2
         https://www.acainternational.org/search#memberdirectory
                                                               4
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 1      28. The FDCPA, pursuant to 15 U.S.C. §1692d, prohibits a debt collector from engaging “in
 2   any conduct the natural consequence of which is to harass, oppress, or abuse any person in
 3
     connection with the collection of a debt.” §1692d(5) further prohibits, “causing a telephone to ring
 4
     or engaging any person in telephone conversation repeatedly or continuously with intent to annoy,
 5
     abuse, or harass any person at the called number.”
 6

 7      29. Defendant violated §1692c(a)(1), d, and d(5) when it repeatedly called Plaintiff after being

 8   notified to stop. Defendant called Plaintiff at least 15 times after he demanded that it stop calling.

 9   This repeated behavior of systematically calling Plaintiff’s phone in spite of his demands was
10
     harassing and abusive. The frequency and volume of calls shows that Defendant willfully ignored
11
     Plaintiff’s pleas with the goal of annoying and harassing him.
12
        30. Defendant was notified by Plaintiff that its calls were not welcomed. As such, Defendant
13
     knew that its conduct was inconvenient and harassing to Plaintiff.
14

15           b. Violations of FDCPA § 1692e

16      31. The FDCPA, pursuant to 15 U.S.C. §1692e, prohibits a debt collector from using “any false,
17   deceptive, or misleading representation or means in connection with the collection of any debt.”
18
        32. In addition, this section enumerates specific violations, such as:
19
                “The use of any false representation or deceptive means to collect or attempt
20              to collect any debt or to obtain information concerning a consumer.” 15
                U.S.C. §1692e(10).
21

22      33. Defendant violated §1692e and e(10) when it used deceptive means to collect and/or attempt

23   to collect the subject consumer debt. In spite of the fact that Plaintiff demanded that it stop

24   contacting him, Defendant continued to contact Plaintiff via automated calls. Instead of putting an
25   end to this harassing behavior, Defendant systematically placed calls to Plaintiff’s cellular phone
26
     in a deceptive attempt to force Plaintiff to answer its calls and ultimately make a payment. Through
27

28
                                                        5
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 1   its conduct, Defendant misleadingly represented to Plaintiff that it had the legal ability to contact
 2   him via an automated system when it no longer had consent to do so.
 3
             c. Violations of FDCPA § 1692f
 4
        34. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from using “unfair or
 5
     unconscionable means to collect or attempt to collect any debt.”
 6

 7      35. Defendant violated §1692f when it unfairly and unconscionably attempted to collect on a

 8   debt by continuously calling Plaintiff at least 15 times after being notified to stop. Attempting to

 9   coerce Plaintiff into payment by placing voluminous phone calls without his permission is unfair
10
     and unconscionable behavior. These means employed by Defendant only served to worry and
11
     confuse Plaintiff.
12
        36. As pled in paragraphs 18 through 20, Plaintiff has been harmed and suffered damages as a
13
     result of Defendant’s illegal actions.
14

15      WHEREFORE, Plaintiff, TODD S. ASHER, respectfully requests that this Honorable Court

16   enter judgment in his favor as follows:
17      a. Declaring that the practices complained of herein are unlawful and violate the
           aforementioned bodies of law;
18

19      b. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15 U.S.C.
           §1692k(a)(2)(A);
20
        c. Awarding Plaintiff actual damages, in an amount to be determined at trial, as provided
21         under 15 U.S.C. §1692k(a)(1);
22
        d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
23         §1692k(a)(3);

24      e. Enjoining Defendant from further contacting Plaintiff seeking payment of the subject
           consumer debt; and
25

26      f. Awarding any other relief as this Honorable Court deems just and appropriate.

27
           COUNT II – VIOLATIONS OF THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
28
                                                       6
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 1      37. Plaintiff restates and realleges paragraphs 1 through 36 as though fully set forth herein.
 2      38. Plaintiff is a “person” as defined by Cal. Civ. Code § 1788.2(g).
 3
        39. The subject consumer debt is a “debt” and “consumer debt” as defined by Cal. Civ. Code §
 4
     1788.2(d) and (f).
 5
        40. Defendant is a “debt collector” as defined by Cal. Civ. Code § 1788.2(c).
 6

 7            a. Violations of RFDCPA § 1788.10 – 1788.17
 8
        41. The RFDCPA, pursuant to Cal. Civ. Code § 1788.17 states that “Notwithstanding any other
 9
     provision of this title, every debt collector collecting or attempting to collect a consumer debt shall
10
     comply with the provisions of Section 1692b to 1692j, inclusive of, and shall be subject to the
11

12   remedies in Section 1692k of, Title 15 of the United States Code.”

13      42. As outlined above, through its continuous attempts to collect upon the subject consumer

14   debt, Defendant violated 1788.17; and §§1692c, d, e, and f. Defendant engaged in a harassing,
15
     deceptive and unconscionable campaign to collect from Plaintiff through the implicit
16
     misrepresentations made on phone calls placed to Plaintiff’s cellular phone. Through its conduct,
17
     Defendant misleadingly represented to Plaintiff that it had the lawful ability to continue contacting
18
     his cellular phone using an automated system absent his consent. Such lawful ability was revoked
19

20   upon Plaintiff demanding that Defendant stop calling his cellular phone, illustrating the deceptive

21   nature of Defendant’s conduct.
22      43. Defendant willfully and knowingly violated the RFDCPA through its egregious collection
23
     efforts. Defendant’s willful and knowing violations of the RFDCPA should trigger this Honorable
24
     Court’s ability to award Plaintiff statutory damages of up to $1,000.00, as provided under Cal. Civ.
25
     Code § 1788.30(b).
26

27      WHEREFORE, Plaintiff, TODD S. ASHER, respectfully requests that this Honorable Court

28   enter judgment in his favor as follows:
                                                        7
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 1     a. Declare that the practices complained of herein are unlawful and violate the aforementioned
          statute;
 2

 3     b. Award Plaintiff actual damages, pursuant to Cal. Civ. Code § 1788.30(a);

 4     c. Award Plaintiff statutory damages up to $1,000.00, pursuant to Cal. Civ. Code §
          1788.30(b);
 5
       d. Award Plaintiff costs and reasonable attorney fees as provided pursuant to Cal. Civ. Code
 6        § 1788.30(c);
 7
       e. Enjoining Defendant from further contacting Plaintiff seeking payment of the subject
 8        consumer debt; and

 9     f. Award any other relief as the Honorable Court deems just and proper.
10
       Dated: December 18, 2019                 Respectfully submitted,
11

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